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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




 THE ASSOCIATED PRESS,

               Plaintiff,                            Case No. 25-cv-00532-TNM

     v.

 TAYLOR BUDOWICH, in his official
 capacity as White House Deputy Chief of
 Staff; KAROLINE LEAVITT, in her official
 capacity as White House Press Secretary; and
 SUSAN WILES, in her official capacity as
 White House Chief of Staff,

               Defendants.


      NOTICE OF REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS
                      REGARDING AMICUS BRIEF

       1.      On February 24, 2025, this Court granted the Reporters Committee for

Freedom of the Press leave to file a brief as amicus curiae (Dkt. No. 21) in support of

the Associated Press’s original motion for a preliminary injunction in this matter.

       2.      On March 4, 2025, this Court denied the Associated Press’s motion as

moot in light of its filing of an amended motion. See Minute Order (Mar. 4, 2025).

       3.      The Reporters Committee respectfully submits that its brief remains

relevant to the issues before the Court, see Reply Memorandum in Further Support of

Pl. the Associated Press’s Amended Mot. for Preliminary Injunction at 14 (Dkt. No. 37)


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(citing Br. of Amicus Curiae Reporters Comm. for Freedom of the Press at 9–13 (Dkt.

No. 21)), and requests that it be considered in connection with the amended motion.

       4.       Furthermore, the Court has issued an order inviting additional briefing

reflecting “originalist research on the First and Fifth Amendment issues in this case”

and “recogniz[ing] and appreciate[ing] the various amici that have filed briefs to

date.” See Minute Order (Mar. 19, 2025).

       5.       In this light, the Reporters Committee also writes to inform the Court

that the Committee to Protect Journalists and the News/Media Alliance have expressed

their support for the arguments contained in the Reporters Committee brief, and they

respectfully request to be reflected on the docket as additional signatories to the brief.

       6.       The Committee to Protect Journalists is an independent, nonprofit

organization that promotes press freedom worldwide. It has no parent corporation

and no stock.

       7.       The News/Media Alliance represents over 2,200 diverse publishers in

the U.S. and internationally, ranging from the largest news and magazine publishers to

hyperlocal newspapers, and from digital-only outlets to papers who have printed

news since before the Constitutional Convention. It is a nonprofit, non-stock

corporation organized under the laws of the Commonwealth of Virginia. It has no

parent company.

       8.       The Reporters Committee appreciates the Court’s consideration of this


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Notice and, if this Notice is insufficient, would welcome any guidance from the Court

on the appropriate means of requesting that the Committee to Protect Journalists and

the News Media/Alliance be added to its brief.

Dated: March 24, 2025                            Respectfully submitted,

                                                 /s/ Bruce D. Brown
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